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                             UNITED STATES DISTRICT COURT
                             FOR THE DISTRICT OF COLUMBIA

   UNITED STATES OF AMERICA                         :    CRIMINAL NO.
                                                    :
                v.                                  :    MAGISTRATE NO. 21-MJ-508
                                                    :
   DEREK COOPER GUNBY,                              :    VIOLATIONS:
                                                    :    18 U.S.C. § 1752(a)(1)
                         Defendant.                 :    (Entering and Remaining in a Restricted
                                                    :    Building or Grounds)
                                                    :    18 U.S.C. § 1752(a)(2)
                                                    :    (Disorderly and Disruptive Conduct in a
                                                    :    Restricted Building or Grounds)
                                                    :    40 U.S.C. § 5104(e)(2)(D)
                                                    :    (Disorderly Conduct in
                                                    :    a Capitol Building)
                                                    :    40 U.S.C. § 5104(e)(2)(G)
                                                    :    (Parading, Demonstrating, or Picketing in
                                                    :    a Capitol Building)

                                     INFORMATION

       The Acting United States Attorney charges that:

                                          COUNT ONE

       On or about January 6, 2021, within the District of Columbia, DEREK COOPER

GUNBY, did unlawfully and knowingly enter and remain in a restricted building and grounds, that

is, any posted, cordoned-off, and otherwise restricted area within the United States Capitol and its

grounds, where the Vice President and Vice President-elect were temporarily visiting, without

lawful authority to do so.

       (Entering and Remaining in a Restricted Building or Grounds, in violation of Title 18,
       United States Code, Section 1752(a)(1))

                                        COUNT TWO

       On or about January 6, 2021, within the District of Columbia, DEREK COOPER

GUNBY, did knowingly, and with intent to impede and disrupt the orderly conduct of Government
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business and official functions, engage in disorderly and disruptive conduct in and within such

proximity to, a restricted building and grounds, that is, any posted, cordoned-off, and otherwise

restricted area within the United States Capitol and its grounds, where the Vice President and Vice

President- elect were temporarily visiting, when and so that such conduct did in fact impede and

disrupt the orderly conduct of Government business and official functions.

       (Disorderly and Disruptive Conduct in a Restricted Building or Grounds, in violation
       of Title 18, United States Code, Section 1752(a)(2))

                                       COUNT THREE

       On or about January 6, 2021, within the District of Columbia, DEREK COOPER

GUNBY, willfully and knowingly engaged in disorderly and disruptive conduct within the United

States Capitol Grounds and in any of the Capitol Buildings with the intent to impede, disrupt, and

disturb the orderly conduct of a session of Congress and either House of Congress, and the orderly

conduct in that building of a hearing before or any deliberation of, a committee of Congress or either

House of Congress.

       (Disorderly Conduct in a Capitol Building, in violation of Title 40, United States Code,
       Section 5104(e)(2)(D))




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                                         COUNT FOUR

       On or about January 6, 2021, within the District of Columbia, DEREK COOPER GUNBY,

willfully and knowingly paraded, demonstrated, and picketed in any United States Capitol Building.

       (Parading, Demonstrating, or Picketing in a Capitol Building, in violation of Title 40, United
       States Code, Section 5104(e)(2)(G))

                                                      Respectfully submitted,

                                                      CHANNING D. PHILLIPS
                                                      Acting United States Attorney
                                                      D.C. Bar No. 415793


                                               By: /s/ Christopher D. Amore
                                                  CHRISTOPHER D. AMORE
                                                  N.Y. Bar No. 5032883
                                                  Assistant United States Attorney
                                                  District of Columbia
                                                  Capitol Riot Detailee
                                                  555 4th Street, NW
                                                  Washington, D.C. 20530
                                                  Tel. No. (973) 645-2757
                                                  Email: christopher.amore@usdoj.gov




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